Case: 1:16-cv-05852 Document #: 30-3 Filed: 04/13/17 Page 1 of 1 PagelD #:237
Goldstein Bender & Romanoff

Attorneys at Law
One North LaSalle Street - 26th Floor
Chicago, Illinois 60602
(312) 346-8558

Retainer Agreement

1, lyts Val Cas cel hereby retain Goldstein Bender &

Romanoff as my attorneys ets represent me in thg prosecution or settlement of all claims for damage

against Dye c dé a rk €> a, Cur id Cemcilt, Next Yh Ca Aa or others

who shall be liable on san of INJURIES AND/OR DAMAGES SUSTAINED by # poesel |? al CZ,,! [obra
onorabout the 37Vdayof Maki 2012.

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In consideration for the services rendered, I agree to pay my attorneys a sum equal to 5, of
whatever may be recovered from said claim either by suit, settlement or in any other manner.

It is further agreed by the parties that in order that my claim be prosecuted effectively and with the
utmost efficiency, convenience and dispatch, that Goldstein Bender & Romanoff, are authorized on my
behalf, to make all determinations relative to the investigation, filing and preparation of the lawsuit for
trial. In addition to the above attorneys fees, it is also agreed that all court costs, subpoena costs, witness
fees, photos, depositions, transcripts, court reporter costs, reports, investigation charges, records, witness
statements and any other expenses incurred in the investigation or litigation of this claim on my behalf
shall be paid by myself.

I further authorize Goldstein Bender & Romanoff, at their discretion and on my behalf, to retain other
attomeys to assist them in the prosecution of my claim. However, I shall not be obligated to pay any fee
to such other attorneys retained by Goldstein Bender & Romanoff, except that I consent and authorize a
division of the fees as described above with such other attorneys as may be retained based upon the
division of responsibility and services rendered.

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DATED: IS dayof Mec 20 1Y

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CLIENT Per my prener Oa baer: l Saye
DATED: _[Srday of Woe 200 7 '° ply

I hereby agree to the above and further agree to make-10 charge “ services unless recovery is eae in (Lownie
the above claim. / to |

ATTORNEYS Hi 4

 

 

[ nek acknowledge the receipt of a copy of this retainer agreement executed this_|5'-day of
, 20 it and note the statutory requirements as set forth on the reverse side of this

me Vece Ko

—CLARNT CLIENT

 

   

PETITIONER'S
EXHIBIT

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